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                                       ORDERED.
 Dated: January 04, 2024




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

 In re:                                            CASE NO. 6:23-bk-04081-TPG

 EVOLUTION MICRO LLC,                              CHAPTER 11

                        Debtor.                    Subchapter V Election
                                              /


             ORDER (1) CONFIRMING FINAL SUBCHAPTER V PLAN OF
         REORGANIZATION FOR EVOLUTION MICRO, LLC PURSUANT TO
  11 U.S.C. §§ 1129(a), (b) AND 1191(b), (2) GRANTING MOTION FOR CRAMDOWN,
      (3) ESTABLISHING DEADLINES, AND (4) SETTING FURTHER HEARING

       THIS CASE came on for hearing on December 13, 2023 at 11:15 a.m. (the “Hearing”) to

consider confirmation of the Subchapter V Plan of Reorganization (the “Plan”) (Doc. No. 49) filed

by Evolution Micro, LLC (the “Debtor”).

       On November 13, 2023, the Court entered the Order Scheduling Confirmation Hearing (Doc.

No. 52), which Order also set compensation and administrative claim hearing procedures, fixed a

deadline of December 6, 2023 (the “Objection Deadline”) for filing objections to confirmation, fixed

a deadline of December 11, 2023 for filing ballots accepting or rejecting the Plan, and deadlines for
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the Debtor to submit its confirmation affidavit and ballot tabulation. No objections to confirmation

were filed by the interested parties.

        Prior to the Hearing, Debtor filed its proposed Exhibit List in support of confirmation (Doc.

No. 73) (the “Exhibits”), which Exhibits included:

                Exhibit 1 – Debtor’s Subchapter V Plan of Reorganization

                Exhibit 2 – Feasibility Analysis;

                Exhibit 3 – Liquidation Analysis;

                Exhibit 4 – Ballot Tabulation;

                Exhibit 5 – Inventory List;

                Exhibit 6 – Confirmation Affidavit

        At the Hearing, the Court admitted each of the Exhibits without objection (Doc. No. 74). Also,

during the Hearing, Debtor’s counsel proffered the testimony of the Debtor’s Managing Member,

Fazleabbas Khaki, in support of confirmation of the Plan without objection, which testimony adopted

and was consistent with the statements set forth in the Confirmation Affidavit (Exhibit 6) admitted

into evidence.

        Upon review and consideration of the Plan, the Exhibits, the presentation and statements of

counsel present at the Hearing, and for the reasons stated orally and recorded in open court, the Court

finds and determines that the requirements of 11 U.S.C. §§ 1129(a), (b) and 1191(b) of the Bankruptcy

Code have been satisfied.

        Accordingly, it is ORDERED as follows:

        1.       The Plan (Doc. No. 49) is CONFIRMED pursuant to 11 U.S.C. §§ 1129 and 1191(b).

If there is a discrepancy between the Plan and this Order, this Order controls.

        2.       Debtor’s Cramdown Motion (Doc. No. 71) is GRANTED.
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         3.     Debtor is authorized and directed to execute all agreements and undertake the actions

contemplated by the Plan, as modified herein, and, pursuant to 11 U.S.C. § 1194, all payments

required under the Plan shall be made by the Debtor notwithstanding confirmation of the Plan under

11 U.S.C. § 1129(a), (b) and 1191(b).1 The Subchapter V Trustee shall remain in the case to monitor

for performance of payments made under the Plan and may submit fee applications for time incurred

monitoring the Debtor’s post-confirmation obligations.

         4.     Debtor shall file all objections to claims within ninety (90) days after the Effective

Date of the Plan; provided, however, the Debtor may seek any extension of this deadline for cause

shown.

         5.     Any counterparty to an executory contract or unexpired lease, which was not

assumed, is directed to file any claim for rejection damages within thirty (30) days from the entry

of the Confirmation Order.

         6.     In the event the Debtor is unable to comply with the provisions of Local Rule 3022-

1, the Debtor shall file a report within ninety (90) days from the date of this Order of Confirmation,

setting the progress made in consummating the Plan. The report shall include: (1) a statement of

distribution by class, name of creditor, date of distribution, and amount paid; (2) a statement of

transfer of property; and (3) a statement of affirmation that the Debtor has substantially complied with

the provisions of the confirmed Plan.

         7.     The Debtor’s case will remain open until entry of a final decree. While the case

remains open, and in accordance with the terms of the Plan, as modified herein, Debtor will

continue to file quarterly post-confirmation operating reports. The Debtor’s obligation to file

quarterly post-confirmation operating reports terminates upon the entry of a Final Decree.


1
 Pursuant to Local Rule 3020-1(c)(1) – a schedule summarizing the timing and amount of payments to be made to
each class of creditors entitled to receive distributions under the Plan is attached hereto as Exhibit “1”.
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         8.     The Court retains jurisdiction for any and all matters that may come before the Court

in the administration of the Plan, as modified herein (including, without limitation, actions as to those

matters contemplated by the Plan) and pursuant to the Order of Confirmation, specifically including,

but not limited to, the jurisdiction to determine all objections that have heretofore been or may be

filed to claims of creditors; to fix and award all compensation to parties who may be so entitled; to

hear and determine all questions concerning the assets or property of the Debtor, including any

questions relating to any sums of money, services, or property due to the Debtor; and determine all

matters of any nature or type necessary or appropriate to carry out the Plan.

         9.     A Post-Confirmation Status Conference has been scheduled before the

Honorable Tiffany P. Geyer for April 17, 2024 at 2:00 p.m. at the George C. Young United

States Courthouse, 400 West Washington Street, Courtroom 6A, 6th Floor, Orlando, Florida

32801.

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Attorney Justin M. Luna is directed to serve a copy of this order on all interested parties and file a
proof of service within three (3) days of entry of the order.
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                               EXHIBIT 1
                         Approximate Distribution Schedule

Class 1                                   TBD
Class 2                                   TBD
Class 3                                   TBD
Class 4                                   TBD
Class 5                                   $300,000.00 on the Effective Date.
Class 6                                   N/A
Administrative Claims                     Paid on Effective Date or by Agreement.
Quarterly Trustee Fees                    N/A
